18-13359-shl      Doc 761       Filed 03/11/19      Entered 03/11/19 16:52:42            Main Document
                                                   Pg 1 of 7


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Counsel for the Senior Lenders

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                )         Chapter 11
                                                      )
REPUBLIC METALS REFINING                              )         Case No. 18-13359 (SHL)
CORPORATION, et al.,1                                 )
                                                      )         (Jointly Administered)
                            Debtors.                  )
                                                      )

    INITIAL DISCLOSURES OF THE SENIOR LENDERS PURSUANT TO FRCP 26(A)(1)




1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209,
New York, NY 10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378),
Republic Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High
Tech Metals, LLC, 13001 NW 38th Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic
LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7604), R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (7848), Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R.
200001 China (1639) and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409,
Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
18-13359-shl         Doc 761        Filed 03/11/19      Entered 03/11/19 16:52:42               Main Document
                                                       Pg 2 of 7


           Pursuant to Federal Rule of Civil Procedure 26(a)(1), made applicable to this proceeding

pursuant to Federal Rule of Bankruptcy Procedure 7026, Coöperatieve Rabobank U.A., New

York Branch, Brown Brothers Harriman & Co., Bank Hapoalim B.M., Mitsubishi International

Corporation, ICBC Standard Bank Plc, Techemet Metal Trading LLC, Woodforest National

Bank and Bank Leumi USA (collectively, the “Senior Lenders”), by and through their

undersigned counsel, provide the following initial disclosures in accordance with the Court’s

Order Approving Uniform Procedures for Resolution of Ownership Disputes (as amended, the

“Procedures Order”)2 [Docket Nos. 395 and 677]:

                   Pursuant to Fed. R. Civ. P. 26(a)(1)(i), the Senior Lenders state that the following

individuals and entities potentially have discoverable information the Senior Lenders may use to

support their claims or defenses, unless solely for impeachment:

            Name                        Contact Information                            Subject Matter
    Current and former         c/o Luskin, Stern & Eisler LLP              Information concerning the subjects
    representatives of the     Eleven Times Square                         listed under the section titled
    Senior Lenders             New York, New York 10036                    “Senior Lenders” in Paragraph 3(a)
                               Attention: Michael Luskin                   of the Procedures Order.
                                          Alex Talesnick
                               Telephone: (212) 597-8200

    Current and former         c/o Luskin, Stern & Eisler LLP              Information concerning the Debtors’
    representatives of         Eleven Times Square                         “Loco London” Clearing Account.
    ICBC Standard Bank         New York, New York 10036
    Plc                        Attention: Michael Luskin
                                          Alex Talesnick
                               Telephone: (212) 597-8200




2
           All capitalized terms used but not defined herein have the meaning ascribed to such terms in the Procedures
Order.
18-13359-shl     Doc 761      Filed 03/11/19    Entered 03/11/19 16:52:42      Main Document
                                               Pg 3 of 7


         Name                     Contact Information                  Subject Matter
 Current and former        c/o Akerman LLP                   Information concerning the subjects
 representatives of the    2001 Ross Avenue                  listed under the section titled
 Debtors and affiliated    Suite 3600                        “Debtors” in Paragraph 3(a) of the
 entities, including,      Dallas, Texas 75201               Procedures Order.
 without limitation,       Attention: John E. Mitchell
 Jason Rubin, David                   Yelena Archiyan
 Comite and Alan           Telephone: (214) 720-4300
 Silverstein
                           98 Southeast Seventh Street
                           Suite 1100
                           Miami, Florida 33131
                           Attention: Andrea S. Hartley
                                      Joanne Gelfand
                                      Katherine C. Fackler
                           Telephone: (305) 374-5600

 Current representatives   c/o Akerman LLP                   Information concerning the subjects
 of Paladin                2001 Ross Avenue                  listed under the section titled
 Management Group,         Suite 3600                        “Debtors” in Paragraph 3(a) of the
 LLC, as financial         Dallas, Texas 75201               Procedures Order.
 advisors to the           Attention: John E. Mitchell
 Debtors, including,                  Yelena Archiyan
 without limitation,       Telephone: (214) 720-4300
 Scott Avila, in his
 capacity as Chief         98 Southeast Seventh Street
 Restructuring Officer     Suite 1100
 of the Debtors            Miami, Florida 33131
                           Attention: Andrea S. Hartley
                                      Joanne Gelfand
                                      Katherine C. Fackler
                           Telephone: (305) 374-5600

 Current and former        111 Wood Avenue South             Information concerning the Debtors’
 representatives of        Iselin, New Jersey 08830          inventory, transactions with
 EisnerAmper LLP, as       Telephone: (732) 243-700          Customers and other bookkeeping
 accountants to the                                          records.
 Debtors

 Current and former        1395 Brickell Avenue              Information concerning the Debtors’
 representatives of        Suite 1150                        inventory, transactions with
 Crowe Horwath LLP,        Miami, Florida 33131              Customers and other bookkeeping
 as accountants to the     Telephone: (786) 534-0250         records.
 Debtors




                                                  -2-
18-13359-shl        Doc 761     Filed 03/11/19     Entered 03/11/19 16:52:42         Main Document
                                                  Pg 4 of 7


            Name                    Contact Information                      Subject Matter
 Current and former          901 Ponce de Leon Boulevard           Information concerning the Debtors’
 representatives of          Suite 500                             inventory, transactions with
 Maria I. Machado,           Coral Gables, Florida 33134           Customers and other bookkeeping
 P.A., as accountants to     Telephone: (305) 448-6622             records.
 the Debtors

 Current and former          Contact information unknown           Information concerning the subjects
 representatives of the                                            listed under the section titled
 Customers                                                         “Customers” in Paragraph 3(a) of
                                                                   the Procedures Order.


The Senior Lenders specifically reserve the right to amend this disclosure.

                   Pursuant to Fed. R. Civ. P. 26(a)(1)(ii), the Senior Lenders state that they have

commenced the process of identifying and gathering documents, tangible things and

electronically stored information that is in their possession, custody or control and that they may

use to support their claims and defenses, unless solely for impeachment. Copies of such

documents, things and information have been produced to the Debtors, the Creditors’ Committee

and the Customers through the Debtors’ electronic discovery vendor pursuant to the Procedures

Order and can also be made available at the offices of Luskin, Stern & Eisler LLP, Eleven Times

Square, New York, New York 10036, upon a proper request and at a time to be mutually

determined. The following is a general description of categories of such documents:

        •          Documents relating to the Debtors’ contention that the Assets belong to the
                   Debtors’ bankruptcy estates and not to the Customers.

        •          Documents relating to the Senior Lenders’ security interests in and liens on the
                   Assets, including, without limitation, loan documents, amendments, intercreditor
                   agreements, forbearance agreements, UCC-1 filings and related lien perfection
                   documents.

        •          Loan and servicing records.

        •          Documents relating to the Senior Lenders’ assertions in the Omnibus Response of
                   the Senior Lenders to Customer Statements Pursuant to Order Approving
                   Uniform Procedures For Resolution of Ownership Disputes [Docket No. 637].




                                                    -3-
18-13359-shl    Doc 761      Filed 03/11/19    Entered 03/11/19 16:52:42          Main Document
                                              Pg 5 of 7


The Senior Lenders specifically reserve the right to amend this disclosure.

               Pursuant to Fed. R. Civ. P. 26(a)(1)(iii), the Senior Lenders state that they are not

seeking damages in this proceeding at this time.

               Pursuant to Fed. R. Civ. P. 26(a)(1)(iv), the Senior Lenders state that they are not

aware of any insurance agreement under which an insurance business may be liable to satisfy all

or part of a possible judgment in this proceeding or to indemnify or reimburse for payments

made to satisfy a judgment in this proceeding.

               Discovery is in its early stages, and the Senior Lenders’ investigation of relevant

facts is ongoing. The Senior Lenders base these initial disclosures on information reasonably

available to them at this time and reserve the right to amend or supplement their disclosures of

witnesses and documents that may be relevant to this case. This disclosure is made without

waiver of (1) any attorney-client, work product, or other privilege which may apply to certain

specific documents contained in the general categories of documents identified above, (2) any

objections on relevance or other grounds the Senior Lenders may have to production and/or

introduction in evidence of any documents identified in this disclosure or (3) the protection

afforded trade secrets and other confidential business information contained in certain of the

above-referenced documents.




                                                 -4-
18-13359-shl   Doc 761   Filed 03/11/19    Entered 03/11/19 16:52:42        Main Document
                                          Pg 6 of 7


 Dated: New York, New York                       Respectfully submitted,
        March 11, 2019

                                                 LUSKIN, STERN & EISLER LLP

                                                 /s/    Michael Luskin
                                                 Michael Luskin
                                                 Richard Stern
                                                 Alex Talesnick
                                                 Eleven Times Square
                                                 New York, New York 10036
                                                 Telephone: (212) 597-8200
                                                 Facsimile: (212) 974-3205
                                                 E-Mail: luskin@lsellp.com
                                                 E-Mail: stern@lsellp.com
                                                 E-Mail: talesnick@lsellp.com

                                                 Counsel for the Senior Lenders




                                           -5-
18-13359-shl    Doc 761     Filed 03/11/19    Entered 03/11/19 16:52:42         Main Document
                                             Pg 7 of 7


                                CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of March, 2019, I caused a true and correct copy of

the foregoing Initial Disclosures of the Senior Lenders Pursuant to FRCP 26(A)(1) to be filed

and served through ECF notification upon all parties who receive notice in this matter pursuant

to the Court’s ECF filing system.


                                                    /s/ Michael Luskin
                                                    Michael Luskin
